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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 September 10, 2021
                           UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA,         §
                                  §
VS.                               § CIVIL ACTION NO. 7:08-CV-00207
                                  §
1.71 ACRES OF LAND, MORE OR LESS, §
et al,                            §
                                  §
       Defendants.                §

                ORDER GRANTING MOTION TO SEVER TRACTS

        The Court now considers the United States’ Opposed Motion to Sever Tracts (Dkt.

No. 149). No party has filed opposition to this Motion and the Court therefore considers it as

unopposed. See Local Rule 7.3-7.4. After reviewing the Motion, the Court finds the Motion has

merit and should be GRANTED.

       It is hereby ORDERED that Tract(s) RGV-RGC-1066, RGV-RGC-1070, RGV-RGC-

1071, RGV-RGC-1072, RGV-RGC-1073, RGV-RGC-1074, RGV-RGC-1075, RGV-RGC-1093,

RGV-RGC-1094, RGV-RGC-1090, and RGV-RGC-1095 are severed into separate proceedings

per track, and Tracts RGV-RGC-1091 and RGV-RGC-1092 are kept within existing civil

number 7:08-CV-207. After severance the named defendants in the severed cases will be:

              a) RVC-RGC-1066: 0.824 acres of land, more or less, situated in Starr County,

       State of Texas and City of Roma, Rosario G. Cuellar, Christina Pena, Adolfo Pena, Jr.,

       Annabella Arce Garza, Eva Ramirez Arce, Laura Alma Arce Saenz, Alonzo David Arce,

       Armond Omar Arce, Heirs of Arnoldo Omero Arce, Heirs of Aaron Arce, Enrique E.

       Arce, Roel Edward Arce, Lauro Romeo Arce, Oscar Rene Arce, Heirs of Lionel Arce aka

       Jose Lionel Arce.


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              b) RGV-RGC-1070: 0.146 acres of land, more or less, situated in Starr County

       State of Texas and Eva V. Zuniga, Gaston Zuniga, Dante Zuniga, Valeria Zuniga, Carrol

       W. Lake.

              c) RGV-RGC-1071: 0.069 acres of land, more or less, situated in Starr County

       State of Texas and Jaime Resendez, Oneida Trevino, Carrol W. Lake.

              d) RGV-RGC-1072: 0.069 acres of land, more or less, situated in Starr County

       State of Texas and Amando Garza Hinojosa and Benita Rose Garcia, husband and wife,

       Francisco Garza, Carrol W. Lake.

              e) RGV-RGC-1073: 0.071 acres of land, more or less, situated in Starr County

       State of Texas and Felix Rodriguez Salinas and Unknown Heirs of Juliet G. Rodriguez

       (deceased) husband and wife, Carrol W. Lake.

              f) RGV-RGC-1074: 0.122 acres of land, more or less, situated in Starr County

       State of Texas and Noelia Montalvo Muñoz, Sylvia Montalvo Ramirez, Carrol W. Lake.

              g) RGV-RGC-1075: 0.100 acres of land, more or less, situated in Starr County

       State of Texas and Esperanza Reyes, Maria Rosalba Reyes, Ricardo Reyes, Jr., Laura

       Belia Reyes, Francisca Reyes Aguilar, Maribel Reyes, Esmeralda Reyes, Jose Guadalupe

       Reyes, Carrol W. Lake.

              h) RGV-RGC-1093: 0.086 acres of land, more or less, situated in Starr County

       State of Texas and Elva Rosa R. Hinojosa, Alicia T. Morton, Cayetano Trevino,

       Margarita T. LaGrange, Gloria T. Cantu, Andrew Ramirez, III, Christina Denise

       Ramirez.

              i) RGV-RGC-1094: 0.090 acres of land, more or less, situated in Starr County

       State of Texas and Karen Lazo, Heirs of Eduardo Marines and Estefana G. Marines.


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               j) RGV-RGC-1090 and RGV-RGC-1095: 0.228 acres of land, more or less,

       situated in Starr County State of Texas and City of Roma.

       The Court further ORDERS that the legal description and final surveys, as included in

the Amended Declaration of Taking (Dkt. 37-1, Schedules CC and Schedules DD) and Second

Amended Declaration of Taking (Dkt. 48, Schedule DDD), be transferred to the severed cases

according to tract.

       It is further ORDERED that the just compensation will also be transferred to the severed

cases according to tract, as follows:

               a) RGV-RGC-1066: The sum estimated             as just compensation is ONE

       THOUSAND DOLLARS AND NO/100 ($1,000.00) to be transferred to the severed case

       for tract RGV-RGC-1066.

               b) RGV-RGC-1070: The sum estimated as just compensation is NINE

       HUNDRED DOLLARS AND NO/100 ($900.00) to be transferred to the severed case for

       tract RGV-RGC-1070.

               c) RGV-RGC-1071: The sum estimated as just compensation is FOUR

       HUNDRED DOLLARS AND NO/100 ($400.00) to be transferred to the severed case for

       tract RGV-RGC-1071.

               d) RGV-RGC-1072: The sum estimated as just compensation is FOUR

       HUNDRED DOLLARS AND NO/100 ($400.00) to be transferred to the severed case for

       tract RGV-RGC-1072.

               e) RGV-RGC-1073: The sum estimated as just compensation is FOUR

       HUNDRED DOLLARS AND NO/100 ($400.00) to be transferred to the severed case for

       tract RGV-RGC-1073.


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             f) RGV-RGC-1074: The sum estimated as just compensation is SEVEN

       HUNDRED DOLLARS AND NO/100 ($700.00) to be transferred to the severed case for

       tract RGV-RGC-1074.

             g) RGV-RGC-1075: The sum estimated as just compensation is SIX HUNDRED

       DOLLARS AND NO/100 ($600.00) to be transferred to the severed case for tract RGV-

       RGC-1075.

             h) RGV-RGC-1093: The sum estimated          as just compensation is FIVE

       HUNDRED DOLLARS AND NO/100 ($500.00) to be transferred to the severed case for

       tract RGV-RGC-1093.

             i) RGV-RGC-1094: The sum estimated as just compensation is FIVE HUNDRED

       DOLLARS AND NO/100 ($500.00) to be transferred to the severed case for tract RGV-

       RGC-1094.

             j)    RGV-RGC-1090    and   RGV-RGC-1095:     The   sum estimated   as   just

       compensation is ONE THOUSAND DOLLARS AND NO/100 ($1,000.00) with respect

       to RGV-RGC-1090 and FOUR HUNDRED DOLLARS AND NO/100 ($400.00) with

       respect to RGV-RGC-1095. Therefore, the amount of ONE THOUSAND FOUR

       HUNDRED DOLLARS AND NO/100 is to be transferred to the severed case for tracts

       RGV-RGC-1090 and RGV-RGC-1095.


       SO ORDERED this 10th day of September, 2021, at McAllen, Texas.


                                            ___________________________________
                                            Randy Crane
                                            United States District Judge



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